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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


MICHAEL E. KENNEDY                               :
                                                 :
                                                 :
      v.                                         :   Civil No. CCB-10-1900
                                                 :
                                                 :
ACE CASH EXPRESS, et al.                         :
                                                 :
                                                 :

                                            ORDER


      For the reasons stated in the accompanying Memorandum, it is hereby Ordered that:

      1.       the plaintiff’s motion for default judgment (ECF Nos. 10 & 11) is DENIED;

      2.       the defendants’ motions to dismiss (ECF Nos. 16 & 22) are GRANTED;

      3.       the plaintiff’s motion for clarification of order of default judgment (ECF No. 15)

               is DENIED as moot;

      4.       the Clerk shall SEND copies of this Order and the accompanying Memorandum

               to Michael Kennedy and counsel of record; and

      5.       the Clerk SHALL CLOSE this case.




May 5, 2011                                             /s/
Date                                             Catherine C. Blake
                                                 United States District Judge
